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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
                                                               :   PLAINTIFFS’ MEMORANDUM
                                                               :   IN SUPPORT OF MOTION FOR
IN RE GREENSKY SECURITIES LITIGATION :                             CLASS CERTIFICATION
                                                               :
                                                               :   18 Civ. 11071 (AKH)
                                                               :
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       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Lead Plaintiffs Northeast

Carpenters Annuity Fund, El Paso Firemen & Policemen’s Pension Fund, and the Employees’

Retirement System of the City of Baton Rouge and Parish of East Baton Rouge respectfully submit

this memorandum of law in support of their motion to: (1) certify a class of all persons and entities

who purchased GreenSky Class A common stock pursuant or traceable to the Registration Statement

and Prospectus (collectively, the “Offering Documents”) issued in connection with Defendant

GreenSky, Inc.’s (“GreenSky” or the “Company”) May 25, 2018 initial public offering (“IPO”) and

were damaged thereby (the “Class”); (2) appoint Lead Plaintiffs as Class Representatives; and (3)

appoint Lead Counsel Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) and Scott+Scott

Attorneys at Law LLP (“Scott+Scott”) as Class Counsel.

I.      INTRODUCTION

       There is no question that this Action merits class certification. Lead Plaintiffs and the

numerous proposed Class members are investors who bring identical, strict liability claims under

Sections 11, 12(a)(2), and 15 of Securities Act of 1933 (“Securities Act”) against Defendants1 for

their materially untrue and misleading statements in the Offering Documents. Specifically, Lead

Plaintiffs allege that the Offering Documents failed to disclose that, prior to the IPO, Defendants

implemented a plan to almost entirely eliminate GreenSky’s highest margin business-line, which

had made up a substantial portion of the Company’s overall business, and that this was causing

the Company’s performance to significantly deteriorate.

       The Securities Act claims at issue are ideally suited to class certification, as courts have

widely recognized:


1
       Defendants are GreenSky, certain of its officers and directors, and the IPO underwriters.
¶¶21-40. All cites to “¶__” are to the Consolidated Second Amended Class Action Complaint for
Violations of the Federal Securities Laws (ECF No. 97).



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       [S]uits alleging violations of the securities laws, particularly those brought pursuant
       to Sections 11 and 12(a)(2), are especially amenable to class action resolution. [They]
       . . . depend[], more than anything else, on establishing that certain statements and
       omissions common to all offerings were material misrepresentations: a classic basis
       for a class action.2

Pub. Emps.’ Ret. Sys. of Miss. v. Merrill Lynch & Co., Inc., 277 F.R.D. 97, 101 (S.D.N.Y. 2011)

(collecting cases); see also In re MF Glob. Holdings Ltd. Inv. Litig., 310 F.R.D. 230 (S.D.N.Y.

2015); In re Livent, Inc. Noteholders Sec. Litig., 210 F.R.D. 512 (S.D.N.Y. 2002).

       Thus, this Action readily satisfies all of the class certification requirements of Federal Rule

of Civil Procedure 23. First, it satisfies the four Rule 23(a) factors, and Rule 23(g):

      •    Where, as here, the claims involve millions of shares of publicly issued GreenSky stock,

           the Class of the many investors in that stock, which consists of thousands of members

           here, easily meets the low numerosity threshold. E.g., City of Westland Police & Fire

           Ret. Sys. v. MetLife, Inc., No. 12-CV-0256, 2017 WL 3608298, at *4 (S.D.N.Y. Aug.

           22, 2017).

      •    As the Supreme Court has repeatedly instructed, whether GreenSky’s Offering

           Documents contain materially untrue and misleading statements raises factual and legal

           questions subject to generalized proof and common to the Class. E.g., Amgen Inc. v.

           Conn. Ret. Plans & Tr. Funds, 133 S. Ct. 1184, 1191, 1200 (2013).

      •    Given that Lead Plaintiffs and the Class members share identical claims, Lead Plaintiffs’

           interests in prosecuting those claims and maximizing a recovery are typical of, and align

           perfectly with, those of the Class. E.g., In re Deutsche Bank AG Sec. Litig., 328 F.R.D.

           71, 80-81 (S.D.N.Y. 2018).




2
       Unless otherwise noted, all emphasis is added and all quotations are omitted.


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      •    Lead Plaintiffs are also adequate representatives because they have no conflicts with the

           Class members, and they have selected experienced Lead Counsel who have

           demonstrated their ability to vigorously prosecute the Action on behalf of the Class.

           E.g., id., at 81-84.    For substantially similar reasons, Lead Counsel qualify for

           appointment as Class Counsel under Rule 23(g). MetLife, 2017 WL 3608298, at *7.

       Second, the Action meets the requirements of Rule 23(b)(3). As the common question of

whether GreenSky’s Offering Documents contain materially untrue and misleading statements is

the primary issue in this strict liability Securities Act case, it predominates over any individual

issues. E.g., MF Glob. Holdings, 310 F.R.D. at 237. Moreover, a class action is the superior

method of adjudicating this controversy, because it will avoid both numerous disparate suits, and

the risk of barring many individual Class members from a recovery. E.g., id., at 239.

       For the foregoing reasons, Lead Plaintiffs respectfully submit that their motion for class

certification should be granted in full.

II.       STATEMENT OF FACTS

       The Complaint brings identical Securities Act claims on behalf of the Class of investors who

purchased the same GreenSky Class A common stock pursuant or traceable to the same materially

untrue and misleading Offering Documents. In particular, the Offering Documents failed to

disclose that, prior to the IPO, Defendants implemented a plan to almost entirely eliminate the

Company’s highest margin business-line, which had made up a substantial portion of GreenSky’s

overall business, and that this was causing the Company’s performance to significantly deteriorate.

       GreenSky is a financial technology company that enables merchants to process loan

applications at the point of sale, and its main source of revenue is an upfront “transaction fee” from

the merchant when a loan is made through GreenSky’s platform. ¶¶43-44. The overall revenue

GreenSky derives from transaction fees is a product of the dollar volume of the underlying loans


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(“transaction volume”) multiplied by the rate GreenSky receives from a merchant on a given loan

(“transaction fee rate”). Changes in GreenSky’s average transaction fee rate therefore affect its

overall revenue.

       Importantly, as GreenSky admitted only after the May 2018 IPO, its transaction fee rates

“var[y] by merchant category . . . Therefore, shifts in merchant mix have a direct impact on [the

Company’s] transaction fee rates,” and in turn its revenue. ¶100 (quoting 2018 Form 10-K).

       Prior to the IPO, solar panel merchants made up a large portion of GreenSky’s business,

and notably had a transaction fee rate that was significantly larger than any other category of

merchants. Solar panel merchants generated average transaction fee rates of around 14%, which

was double the averages of all the other merchants in GreenSky’s business. ¶¶46. GreenSky

initially sought out solar merchants’ high transaction fee rates, such that, for example, in 2016,

solar panel merchants accounted for nearly 20% of GreenSky’s transaction volume. ¶¶46-47.

       However, during 2016, GreenSky decided to drastically and suddenly change its mix of

merchants, including by almost completely eliminating its solar panel business. ¶48. The

Company actively discouraged its salespeople from pursuing new solar business and began

terminating its agreements with existing merchants. Id. Owing to this rapid policy change, by

2017, only one salesperson handled all of GreenSky’s solar business. Id. As Defendants intended,

GreenSky’s solar merchant transaction volume dropped precipitously. ¶49.

       At the same time, Defendants sought to replace GreenSky’s solar merchant business with

a new, and a materially different category of merchants. These new merchants, from the elective

healthcare industry, had an average transaction fee rate of only 6.5%. ¶50. That was only half the

rate of the solar merchants they were replacing. ¶¶46, 50. It was also less than the rate of virtually




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all other non-solar merchants with whom GreenSky did business, which for at least four years

prior to the IPO had been “incredibly stable” at about 7%. ¶50.

       Owing to this planned and marked shift away from GreenSky’s only substantial high-

transaction rate merchants, the Company’s average transaction fee rate substantially declined.

¶¶50, 56, 58. Thus, just before the IPO, solar merchants made up only 8% of GreenSky’s overall

transaction volume, down sharply from its previous 20% level. ¶49. In turn, during the year before

the IPO, GreenSky’s average transaction fee rate fell a full percentage point, until, by the first

quarter of 2018, about a month before the IPO, the average transaction fee rate had dropped to

6.9%. ¶50. At the same time, the Company’s cost of revenue was 55% higher than in 2017,

because the elective healthcare business depended on a much higher transaction volume than the

solar business, which caused gross profit growth to slow. ¶ 108 n.7.

       In May 2018, GreenSky was able to undertake a successful IPO, but it did so while failing

to disclose the foregoing material trends. ¶51. More specifically, the Offering Documents never

acknowledged or mentioned the prominent role that GreenSky’s solar merchant business had

played in its historical revenues and transaction fee rate. ¶53. Instead, the Offering Documents

only mentioned solar merchants one time, and that was hidden in a section on “Attractive Unit

Economics,” which notes that solar panel merchants will be excluded from a measure of “dollar-

based retention” because “we actively reduced our transaction volume with such merchants in

2017,” but did not even begin to discuss the actual negative impact of that change on GreenSky’s

performance. ¶54. Accentuating that failure, among other things, the Offering Documents did not

exclude the solar business’s outsized transaction fee rates and resulting revenues from other

important performance metrics, giving investors a false picture of the Company’s current position

and potential. See ¶¶56-69.




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       With these trends and GreenSky’s performance continuing to deteriorate after the IPO

(¶¶77, 84, 107), Defendant Zalik, GreenSky’s CEO, soon had to admit that the Company had been

aware of these clear trends as they were unfolding prior to the IPO:

       We knew going into 2018 that historically, outside of our solar business, our
       average take rate had been incredibly stable for years. We knew that we had made
       a decision at the end of 2016 to reduce our concentration on solar. We knew that
       solar had an outsized average take rate of 14%. And as solar as a percentage of our
       business was coming down that our average take rate would go down. ¶91.

Moreover, unlike the Offering Documents, each of the Company’s post-IPO public filings in 2018

disclosed material information to the effect that its changing merchant mix can impact its average

transaction fee rates. ¶111. A November 2018 investor presentation provided even further detail,

with charts showing that at least as early as January 2017, a sharp “decline in solar originations”

was causing a negative “trend” in transaction fee rates, and in turn an acknowledgement that

GreenSky’s 2018 fiscal year was “impacted by a 0.5% decline in transaction fee rate, resulting in

$25M reduction in revenue and Adjusted EBITDA.” ¶¶105-06.

       As a consequence of these disclosures, GreenSky’s stock price dropped 60% from its IPO

price, causing substantial investor losses. ¶¶118-19. By contrast, the Individual Defendants

personally received hundreds of millions of dollars from the IPO, the proceeds of which went

almost entirely to pay them and early private investors. ¶¶142-43.

III.   ARGUMENT

       A.      The Standard for Class Certification

       The Court should certify the Class, where, as here, it satisfies the Rule 23 requirements,

specifically, the four prerequisites of Rule 23(a) – numerosity, commonality, typicality, and

adequacy – and the two prerequisites of Rule 23(b)(3) – that common questions predominate, and

that a class action is the superior means of adjudicating the claims.




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        Although the Court’s analysis must be “rigorous,” “the Second Circuit has directed district

courts to apply Rule 23 according to a liberal rather than a restrictive interpretation,” and noted that

“[i]f there is to be an error made, let it be in favor and not against the maintenance of the class action

. . . .” In re Facebook, Inc. IPO Sec. & Derivative Litig., 312 F.R.D. 332, 340 (S.D.N.Y. 2015).

Further, the question under Rule 23 is essentially procedural – whether the class certification

requirements are met, as they clearly are here. See Amgen Inc., 133 S. Ct. at 1149 (“Rule 23 grants

courts no license to engage in free-ranging merits inquiries at the certification stage.”).

        B.      The Securities Claims at Issue Are Especially Amenable to Certification

        Courts within this Circuit have instructed that suits, like this one, alleging Securities Act

claims are “especially amenable” to class action certification and resolution because the main issue

they involve is whether documents issued in connection with an offering of stock contain materially

untrue or misleading statements – which is inherently a class-wide question. E.g., N.J. Carpenters

Health Fund v. DLJ Mortg. Capital, Inc., No. 08-CV-5653 (PAC), 2014 WL 1013835, at *4

(S.D.N.Y. Mar. 17, 2014); Pub. Emps.’ Ret. Sys. of Miss., 277 F.R.D. at 101 (same); see also

Desrocher v. Covisint Corp., No. 14-CV-3878 (AKH), 2016 WL 740275, at *2 (S.D.N.Y. Feb. 22,

2016) (Hellerstein, J.) (noting that under Section 11, plaintiffs need not establish “scienter,

reliance, or causation”). This “formulaic nature of §11 leaves defendants with little room to

maneuver.” In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774, 785 (3d Cir. 2009).

        C.      The Class Here Readily Satisfies the Rule 23(a) Requirements

                1.      The Proposed Class Is Numerous

        “Numerosity is presumed for classes larger than forty members[],” although plaintiffs need not

provide evidence of an exact class size to establish numerosity. Gruber v. Gilbertson, No. 16-CV-

9727, 2019 WL 4439415, at *2 (S.D.N.Y. Sept. 17, 2019) (quoting Pa. Pub. Sch. Emps.’ Ret. Sys. v.

Morgan Stanley & Co., 772 F.3d 111, 120 (2d Cir. 2014)). Thus, in securities class actions ‘“relating


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to publicly owned and nationally listed corporations, the numerosity requirement may be satisfied by

a showing that a large number of shares were outstanding and traded during the relevant period.’”

MetLife, 2017 WL 3608298, at *4; In re Prestige Brands Holdings, Inc. Sec. Litig., No. 05-CV-6924

(CLB), 2007 WL 2585088, at *2 (S.D.N.Y. Sept. 5, 2007) (same).

       The Class here consists of all persons who purchased the 43.7 million shares of GreenSky

Class A common stock that was issued pursuant, or was traceable, to the IPO and the materially

untrue or misleading Offering Documents. ¶¶1, 6, 144; Declaration of Steven J. Toll (“Toll Decl.”)

Ex. A at 8 (Q2 2018 Form 10-Q). Although the exact number of Class members has yet to be

determined, based on the millions of shares issued and their trading on the NASDAQ exchange,

Class members likely number in the hundreds if not thousands and are geographically dispersed.

Joinder of parties so numerous and widespread would be burdensome, expensive, and impracticable

to both the parties and the judicial system, confirming that Rule 23(a)(1) is satisfied. E.g., In re AMF

Bowling Sec. Litig., No. 99-CV-3023 (DC), 2002 WL 461513, at *3 (S.D.N.Y. Mar. 26, 2002)

(numerosity satisfied for class of purchasers of 15,525,000 shares of stock).

               2.      The Action Raises Common Questions of Law and Fact

       “Rule 23(a)(2) requires that the putative class members’ claims must share common

questions of fact and law . . . .” MF Glob. Holdings, 310 F.R.D. at 235. This commonality

requirement is a “‘low hurdle,’” requiring only that class members’ claims depend upon at least one

“‘common contention . . . capable of classwide resolution – which means that determination of its

truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

stroke.’’ Id. (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011)). Commonality is

“plainly satisfied” here because “the alleged misrepresentations in the prospectus relate to all the

investors,” and the “existence and materiality of such misrepresentations obviously present

important common issues.” Id.; Amgen, 133 S. Ct. at 1191, 1200 (“Because materiality is judged


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according to an objective standard, the materiality of [an issuer’s] alleged misrepresentations and

omissions is a question common to all members of the class”; “the falsity or misleading nature of

the defendants’ alleged statements or omissions are common questions”); Halliburton Co. v. Erica

P. John Fund, Inc., 134 S. Ct. 2398, 2416 (2014) (“materiality is an objective issue susceptible to

common, classwide proof”).

       Likewise, here, the central issue in this Securities Act case involves questions of law or fact

that are common to Lead Plaintiffs and all Class members. They include: (i) whether the Offering

Documents contain untrue or misleading statements; (ii) whether those statements are material; and

(iii) whether as a result of those statements Defendants violated the Securities Act. In re Barclays

Bank PLC Sec. Litig., No. 09-CV-1989 (PAC), 2016 U.S. Dist. LEXIS 75663, at *24 (S.D.N.Y.

June 9, 2016); In re Sanofi-Aventis Sec. Litig., 293 F.R.D. 449, 457 (S.D.N.Y. 2013). The Action

accordingly satisfies Rule 23(a)(2).

               3.      The Class Representatives’ Claims Are Typical of the Class

       Typicality under Rule 23(a)(3) requires “only that the disputed issues of law or fact occupy

essentially the same degree of centrality to the named plaintiff’s claim as to that of other members

of the proposed class.” MF Glob. Holdings, 310 F.R.D. at 236. It “does not require factual identity

between the named plaintiffs and the class members.” Id. When determining whether the claims

are typical, “‘the focus must be on the defendants’ behavior and not that of the plaintiffs.’” Teachers

Ret. Sys. v. ACLN Ltd., No. 01-CV-11814 (LAP), 2004 WL 2997957, at *4 (S.D.N.Y. Dec. 27, 2004).

Courts in this District “have emphasized that the typicality requirement is not demanding.” In re

EVCI Career Colls. Holding Corp. Sec. Litig., No. 05-CV-10240 (CM), 2007 WL 2230177, at *13

(S.D.N.Y. July 27, 2007).

       Here, Lead Plaintiffs’ claims are typical of, if not identical to, the claims of all other Class

members. Lead Plaintiffs and Class members all purchased GreenSky common stock pursuant or


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traceable to the Offering Documents, they all allege that the Offering Documents misstated and omitted

the same material facts, and all bring the same claims against the same Defendants as a result. Given

that each Class member’s claims turn upon the very same facts and legal theories, and will be proven

by the same evidence, typicality is satisfied, as courts regularly find under similar circumstances.

Deutsche Bank, 328 F.R.D. at 81 (finding typicality where the “Court has found that all class

members’ claims arise from a single, common course of conduct committed against all members

of the class”); Facebook, 312 F.R.D. at 343 (same). Nor are there any defenses unique to Lead

Plaintiffs. MF Glob. Holdings, 310 F.R.D. at 236-37; N.J. Carpenters Health Fund v. Residential

Capital, 272 F.R.D. 160, 165-68 (S.D.N.Y. 2011).

               4.      Lead Plaintiffs Will Fairly and Adequately Protect the Class

       “Rule 23(a)(4) requires that the representative of the parties will fairly and adequately protect

the interests of the class.” MF Glob. Holdings, 310 F.R.D. at 237. The adequacy inquiry asks

whether: “1) plaintiff’s interests are antagonistic to the interest of other members of the class and 2)

plaintiff’s attorneys are qualified, experienced and able to conduct the litigation.” Deutsche Bank,

328 F.R.D. at 81. Like typicality, the “adequacy requirement is not demanding,” and both elements

of Rule 23(a)(4) are met here. Wallace v. IntraLinks, 302 F.R.D. 310, 316 (S.D.N.Y. 2014).

       With respect to the first element, courts in this Circuit have explained that to defeat adequacy,

not only must the class representative have a conflict with the class, but that conflict “must be

fundamental” to the case. Gilbertson, 2019 WL 4439415, at *4. Here, Lead Plaintiffs’ interests are

perfectly aligned with those of the Class. As discussed, Lead Plaintiffs suffered identical harm to the

Class – from purchasing GreenSky stock pursuant or traceable to the Offering Documents that

contained materially untrue and misleading statements – and are thus incentivized to pursue, and

maximize, a recovery that will equally benefit all Class members. Billhofer v. Flamel Techs., S.A., 281

F.R.D. 150, 157 (S.D.N.Y. 2012) (“[A]ll members of the proposed class allege claims arising from the


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same wrongful conduct that are based on the same legal theories as Plaintiff’s claims. . . . Therefore,

the interests of the other members of the proposed class will be adequately protected by Plaintiff”).

Nor are there any conflicts between Lead Plaintiffs and the Class. See Facebook, 312 F.R.D. at 344

(Where all claims arise from the same wrongful conduct “[a]ny conflict that may exist is not

fundamental.”).

        Further, Lead Plaintiffs have already demonstrated their commitment and ability to

supervise, participate in, and vigorously protect the interests of the Class in this Action. As set forth

in their Declarations, see Toll Decl. at Exs. B-D, Lead Plaintiffs: (i) regularly communicate with

counsel, receive updates regarding the litigation, and monitor the litigation; (ii) review pleadings

and other filings in this Action; (iii) participate in the Action, including through responding to

discovery requests and producing documents; (iv) understand their fiduciary duties to the Class and

will ensure that all Class members are treated equally; and (v) are committed to continuing all of

these actions if appointed Class Representatives and to maximizing a recovery on behalf of all Class

members.

        Likewise, Lead Plaintiffs have also satisfied the second element by selecting counsel, Cohen

Milstein and Scott+Scott, that have vigorously prosecuted the Action, including by defeating

Defendants’ motions to dismiss; possess extensive experience representing investors in securities

class actions; and have committed substantial resources to this case. Further details regarding Lead

Counsel’s relevant experience are set forth in their resumes, attached to the Toll Decl. at Exs. E and

F, and in Section III.E below. Lead Counsel’s record here, along with their achievements in other

securities class actions, demonstrates their commitment to vigorously prosecuting this case on

behalf of the Class, and is sufficient to satisfy the adequacy requirement, as courts have held under




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similar circumstances. MF Glob. Holdings, 310 F.R.D. at 237; MetLife, 2017 WL 3608298, at *7-

8.3

       D.      This Case Meets the Requirements of Rule 23(b)(3)

       In addition to meeting the requirements of Rule 23(a), a class action must also satisfy at least

one of the three Rule 23(b) requirements. Here, Lead Plaintiffs move for class certification under

Rule 23(b)(3), which authorizes certification where: (i) “the questions of law or fact common to class

members predominate over any questions affecting only individual members”; and (ii) “a class action

is superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed. R.

Civ. P. 23(b)(3). The Action satisfies both of those conditions.

               1.      Common Questions of Law and Fact Predominate

       As the Supreme Court has held, “[p]redominance is a test readily met in certain cases alleging

. . . securities [claims].” Amchem Prods, Inc. v. Windsor, 521 U.S. 591, 625 (1997); see also Basic

Inc. v. Levinson, 485 U.S. 224 (1988). ‘“Class-wide issues predominate if resolution of some of the

legal or factual questions that qualify each class member’s case as a genuine controversy can be

achieved through generalized proof, and if these particular issues are more substantial than the issues

subject only to individualized proof.’” UFCW Local 1776 v. Eli Lilly & Co., 620 F.3d 121, 131 (2d

Cir. 2010). In making that predominance assessment, “a court’s inquiry is directed primarily toward

whether the issue of liability is common to members of the class.” Tsereteli v. Residential Asset

Securitization Tr. 2006-A8, 283 F.R.D. 199, 210 (S.D.N.Y. 2012). It is also “well-established that




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         Beyond satisfying the express requirements of Rule 23(a), the Class is also ascertainable.
It is defined by objective, transactional facts – the purchase of GreenSky Class A common stock
pursuant or traceable to the Offering Documents – that are readily identifiable by reference to Class
members’ and Defendants’ records. See MetLife, 2017 WL 3608298, at *13; In re Petrobras Sec.
Litig., 862 F.3d 250, 269-70 (2d Cir. 2017) (“securities purchases identified by subject matter . . .
are clearly objective”).


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the fact that damages may have to be ascertained on an individual basis is not sufficient to defeat”

predominance or class certification. Kaplan v. S.A.C. Capital Advisors, L.P., 311 F.R.D. 373, 382

(S.D.N.Y. 2015).

        In this case, the principal theories of liability are premised on Sections 11, 12(a)(2), and 15

of the Securities Act. Erica P. John Fund, Inc. v. Halliburton Co., 131 S. Ct. 2179, 2184 (2011)

(the determination of “whether ‘questions of law or fact common to class members predominate’

begins, of course, with the elements of the underlying cause of action”). Under those strict liability

statutes, “[i]f a plaintiff purchased a security issued pursuant to a registration statement, he need only

show a material misstatement or omission to establish [a] prima facie case. Liability against the

issuer of a security is virtually absolute, even for innocent misstatements.” See Herman & MacLean

v. Huddleston, 459 U.S. 375, 381-82 (1983) (Securities Act “impos[es] a stringent standard of

liability”).

        Given that the Class “need not allege scienter, reliance, or loss causation,” whether the

Offering Documents contained materially untrue or misleading statements is the predominant issue

in the case.4 Deutsche Bank, 328 F.R.D. at 80; Korn v. Franchard Corp., 456 F.2d 1206, 1210 (2d

Cir. 1972) (predominance “satisfied [where] the alleged misrepresentations in the prospectus relate

to all the investors, [because] the existence and materiality of such misrepresentations obviously




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        Defendants’ alleged affirmative defenses, though not relevant to this motion, also present
inherently common issues. See, e.g., Constar, 585 F.3d at 785 (“We also note that, although loss
causation is an affirmative defense in a §11 case, this defense would not defeat predominance []. . .
. Any affirmative defense on this ground would present a common issue – not an individual one.”)
(emphasis in original). Similarly, although certification of a Securities Act class pursuant to Rule
23(b)(3) does not require “a finding that damages are capable of measurement on a classwide
basis” (Roach v. T.L. Cannon Corp., 778 F.3d 401, 402 (2d Cir. 2015)), here the class-wide
methodology for calculating damages is fixed by statute and therefore common to all Class
members. See 15 U.S.C. § 77k(e); In re IndyMac Mortg.-Backed Sec. Litig., 286 F.R.D. 226, 235
& n.69 (S.D.N.Y. 2012).


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present important common issues”); MF Glob. Holdings, 310 F.R.D. at 237 (same). Moreover,

“proof of [a defendant’s] alleged misrepresentations and/or omissions are susceptible to generalized

proof.” Lapin v. Goldman Sachs & Co., 254 F.R.D. 168, 181 (S.D.N.Y. 2008). The common

questions of law and fact here are therefore also the predominant questions at issue.

                2.      A Class Action Is the Superior Means of Resolving This Dispute

        “Securities suits easily” satisfy Rule 23(b)(3)’s second requirement, that a class action is

superior to other methods for adjudicating the controversy, “because ‘the alternatives are either no

recourse for thousands of stockholders’ or ‘a multiplicity and scattering of suits with the inefficient

administration of litigation which follows in its wake.’” MF Glob. Holdings, 310 F.R.D. at 239.

        The same logic applies here. With thousands of geographically dispersed Class members, the

alternative to resolving this dispute as a class action is a multiplicity of suits throughout the United

States, risking conflicting decisions and a severely inefficient administration of justice – precisely the

“evil that [class actions were] designed to prevent.” Califano v. Yamasaki, 442 U.S. 682, 690 (1979);

Pub. Emps.’ Ret. Sys. of Miss. v. Goldman Sachs Grp., Inc., 280 F.R.D. 130, 141 (S.D.N.Y. 2012)

(“Concentrating litigation in this forum is desirable because the Court is familiar with the history of

this case, having ruled on earlier motions and discovery disputes.”). Moreover, “in the absence of

class certification . . . many putative class members – particularly, retail investors – would also be

discouraged from even seeking legal relief as their potential recovery would be outweighed by the

transaction costs of individual litigation.” Livent, 210 F.R.D. at 518. Nor is there any reason to

expect difficulties in the management of this case as a class action. In re Omnicom Grp., Inc. Sec.

Litig., No. 02-CV-4483 (RCC), 2007 WL 1280640, at *8 (S.D.N.Y. Apr. 30, 2007) (“[I]n Rule-

23(b)(3) securities fraud cases, this Circuit has expressed a strong preference in favor of using

judicial management tools, rather than refusing to certify a class for management reasons.”). Thus,

the class action device is superior to any other means to adjudicate this Action.


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        E.      The Court Should Appoint Lead Plaintiffs’ Choice of Counsel as Class
                Counsel Under Rule 23(g)

        In appointing class counsel, the Court should take into account the factors set forth in Rule

23(g), although the ultimate requirement remains that class counsel will “fairly and adequately

represent the interests of the class,” which as set forth above, they unquestionably will do. MetLife,

2017 WL 3608298, at *16-17; supra Section III.C.4. The Rule 23(g) factors include: “the work

counsel has done in identifying or investigating potential claims in the action”; “counsel’s

experience in handling class actions” along with “counsel’s knowledge of the applicable law”; and

“the resources that counsel will commit to representing the class.” These considerations all

militate in favor of appointing Lead Counsel as Class Counsel.

        Lead Counsel are well qualified to represent the Class here. Both firms have extensive

experience in class action litigation, including securities class actions, and through their efforts have

achieved billions of dollars in recoveries for investors. See Toll Decl. Exs. E-F (Lead Counsel’s firm

resumes). Courts have regularly appointed Lead Counsel to represent classes of investors, and have

praised Lead Counsel’s work in that regard. See, e.g., In re Braskem Sec. Litig., No. 15-CV-5132

(PAE), Dkt. No. 133 (Tr. of Feb. 21, 2018 settlement hearing) (Engelmayer, J.: “I just want to thank

all of you really [including Cohen Milstein] for the excellent lawyering. It’s a pleasure … to get

lawyering of this caliber. … It’s my pleasure to have presided over this case.”); N.J. Carpenters

Health Fund v. Residential Capital, LLC, No. 08-CV-8781(KPF), Dkt. No. 355 (Tr. of July 31, 2015

settlement hearing) (Failla, J.: “I don’t want to demean this by saying that fortune favors the brave, but

that is what happened here. [Cohen Milstein] took on an enormous amount of risk and stuck with it

for nearly seven years.”); In re Bear Stearns Mortg. Pass-Through Certificates Litig., No. 08-cv-

8093-LTS, Dkt. No. 289 (Tr. of May 27, 2015 settlement hearing) (Swain, J.: “this hard fought

[including by Cohen Milstein] settlement which is very beneficial to the members of the classes,



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[is] impressive”); Policemen’s Annuity & Benefit Fund of the City of Chicago v. Bank of Am., NA,

No. 12-cv-2865-KBF, Dkt. No. 334 (Tr. of Mar. 12, 2015 settlement hearing) (Forrest, J.: “[T]his

is a very, very good result for the plaintiffs … the vigorously fought class action here and well

represented class action is something of which [Scott+Scott and Cohen Milstein] can be proud

…”); N.J. Carpenters Vacation Fund v. Royal Bank of Scotland Grp. PLC, No. 08-cv-5093-LAP,

Dkt. No. 284 (Tr. of Oct. 28, 2014 settlement hearing) (Preska, J.: “this was one of the most

interesting and different class actions I’ve seen… Job well done [by Cohen Milstein, among

others].”); N.Y. Univ. v. Ariel Fund Ltd., No. 603803/08, slip. op. at 9-10 (N.Y. Sup. Ct. Feb. 22,

2010) (“It is this Court’s position that Scott+Scott did a superlative job in its representation, which

substantially benefited Ariel . . . . For the record, it should be noted that Scott+Scott has

demonstrated a remarkable grasp and handling of the extraordinarily complex matters in this case

. . . . They have possessed a knowledge of the issues presented and this knowledge has always

been used to the benefit of all investors.”). Based on their experience, Lead Counsel investigated the

claims at issue, drafted a complaint that coupled with their opposition briefing survived Defendants’

motions to dismiss, and are now further pursuing those claims in discovery.             Moreover, as

demonstrated by their track record in other securities class actions, Lead Counsel have the resources

to effectively pursue and vigorously prosecute those claims on behalf of the Class.

       Lead Plaintiffs therefore respectfully submit that Lead Counsel should be appointed Class

Counsel, as courts have done under similar circumstances. MF Glob. Holdings, 310 F.R.D. at 240

(selecting as Class Counsel the two firms that had litigated the case as Lead Counsel, noting that

“these two firms have vigorously pursued Plaintiff’s claims to date . . . and have significant

experience representing classes in other securities class actions,” in addition to “demonstrat[ing]




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knowledge of the applicable law and [having] committed significant resources to its representation

of Plaintiff”); In re SunEdison, Inc. Sec. Litig., 329 F.R.D. 124, 147 (S.D.N.Y. 2019).

III.    CONCLUSION

       For the foregoing reasons, Lead Plaintiffs respectfully request that the Court: (i) certify this

Action as a class action pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil

Procedure; (ii) certify Lead Plaintiffs as representatives of the proposed Class; and (iii) appoint

Lead Counsel as Class Counsel.

Dated: February 21, 2020                       Respectfully submitted,

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